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                          Exhibit D
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                                                                                        401 Congress Avenue
                                                                                          Austin, TX 78701
          James John Lomeo                                                                  United States
         To Call Writer Directly:                                                                                                                                         Facsimile:
           +1 512 355 4316                                                                    +1 512 678 9100                                                          +1 512 678 9101
       james.lomeo@kirkland.com
                                                                                          www.kirkland.com




                                                                                        January 2, 2025

           By E-mail

           Matthew Wood
           King & Spalding LLP
           500 W. 2nd St.
           Ste. 1800
           Austin, TX 78701


                                         Re: SportsCastr Inc. (d/b/a PANDA Interactive) v. Genius Sports Ltd., No. 2:23-
                                                cv-471/472-JRG (E.D. Tex.) – December 23, 2024 Meet-and-Confer

           Counsel:

           Genius Sports writes to memorialize our December 23, 2024 meet-and-confer. During that
           meet-and-confer, we discussed: (1) the issues raised in PANDA’s October 23, 2024 letter, which
           Genius Sports responded to on November 8, 2024; (2) the issues raised in PANDA’s September
           13, 2024 e-mail; and (3) the issues raised in Genius Sports’ November 8, 2024 letter, and
           PANDA’s November 13, 2024 response thereto.

           I.           PANDA’s Interrogatories

           At the outset, the parties discussed Mr. Siegmund’s October 23, 2024 letter, which raised several
           concerns regarding Genius Sports’ interrogatory responses. Although we provided a substantive
           and detailed response to that letter on November 8, 2024, the parties discussed each interrogatory
           during the conference.

           Interrogatory No. 1:1 Genius Sports confirmed that it will supplement its response to
           Interrogatory No. 1 to: (1) identify a person knowledgeable about marketing of the Accused
           Products; and (2) clarify the Accused Product each technical witness is knowledgeable about to


           1        PANDA Interrogatory No. 1 reads: Identify the persons most knowledgeable, including at least 5 current
           employees, about each Accused Product. Such identification shall include, with regard to each Accused Product, the
           person or persons most knowledgeable regarding the design, development, qualification, testing and use of each
           product; the underlying technology, the operation, architecture, features, and source code of each product; and the
           sales, marketing, customers, and technical support for each product. The identification should include the nature
           and timing of each person’s involvement.


Bay Area   Beijing   Boston   Brussels   Chicago   Dallas   Frankfurt   Hong Kong   Houston    London   Los Angeles   Miami   Munich   New York   Paris   Riyadh   Salt Lake City   Shanghai   Washington, D.C.
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the extent it is not all Accused Products. Genius Sports confirmed it would supplement its
response to Interrogatory No. 1 by the end of January.

Interrogatory Nos. 22 and 33: PANDA asked if Genius Sports would supplement Interrogatory
Nos. 2 and 3 to clarify the names of the Accused Products and whether the Accused Products are
stand-alone products or sold in combination with each other. Genius Sports stated that there
appears to be confusion between the parties regarding the Accused Products because PANDA’s
contentions and interrogatories identify products by terms used in public facing material, but are
not the names of products that Genius Sports actually sold or offered for sale. Genius Sports
stated that it would supplement Interrogatory Nos. 2 and 3 to include a description of the
software products that Genius Sports offers, including whether the products are stand-alone
products or can be used in conjunction with other products. If a product can be used in
combination with other products, Genius Sports agreed to identify such products and the
combination. Genius Sports confirmed it would supplement its response to Interrogatory Nos. 2
and 3 by the end of January.

Interrogatory No. 4:4 PANDA stated that it believes Genius Sports’ response to Interrogatory
No. 4 is deficient because Genius Sports’ response does not identify when it became aware of all
Asserted Patents and because Genius Sports’ response does not identify actions Genius Sports
has taken to change or alter anything in the Accused Products as a result of becoming aware of
the Asserted Patents. Genius Sports agreed it would supplement its response to Interrogatory
No. 4 to identify the date Genius Sports became aware of the ’088 Patent, which we already
identified to you in our November 8 letter. Regarding actions Genius Sports has taken to change
or alter anything in the Accused Products as a result of becoming aware of the Asserted Patents,
Genius Sports noted that request likely implicates privileged information. If there is any non-
privileged information regarding actions Genius Sports has taken to change or alter anything in


2
         PANDA Interrogatory No. 2 reads: Identify each Accused Product by product name, product code, internal
product name, version, features, or any other formal or informal designation, whether for internal or external
purposes.
3
         PANDA Interrogatory No. 3 reads: Identify all Accused Products as well as any other product(s),
bundle(s), or service(s) developed, made, sold or offered for sale, used, licensed, or otherwise provided or made
available by You during the Relevant Time Period that provide Accused Functionalities, including the date when
each was developed and released.
4        PANDA Interrogatory No. 4 reads: Describe in detail how Genius first became aware of the Asserted
Patents. Your response to this Interrogatory should include an identification of the individuals who first became
aware, when they first became aware, how they first became aware, and any action taken as a result of becoming
aware of the Asserted Patents, including describing in detail all activities taken by you or on your behalf to
investigate the Asserted Patents and the information you learned as a result of such investigation; when you learned
that information, and from what source; the identity of the persons most knowledgeable of such investigation and
knowledge; and the identity (by title, subject, author, and date) of all documents comprising, referring, or relating to
such investigation and knowledge.
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the Accused Products in response to PANDA’s allegations, Genius Sports will supplement its
response to include such information.

Interrogatory No. 5:5 The parties agreed that PANDA’s concerns with Genius Sports’ response
to Interrogatory No. 5 were resolved with the agreement the parties reached at the December 16,
2024 motion hearing. Genius Sports reiterated it is collecting and will produce additional
agreements in accord with that agreement by the end of January, and that Genius Sports will
supplement its response to Interrogatory No. 5 to identify those agreements.

Interrogatory Nos. 66 and 77: Regarding Interrogatory Nos. 6 and 7, which PANDA
acknowledged are contention interrogatories regarding Genius Sports’ non-infringement
positions and non-infringing alternatives respectively, PANDA stated that it believes both parties
should be supplementing their responses to contention interrogatories. Genius Sports agreed and
stated it would supplement its responses to PANDA interrogatory Nos. 6 and 7 to include
additional non-infringement positions, particularly in light of source code citations PANDA
recently included in its infringement contentions. Genius Sports confirmed it would supplement
its response to Interrogatory Nos. 6 and 7 by the end of January.

Interrogatory No. 8:8 PANDA stated it was seeking a narrative description of the history of
each Accused Product, including an identification of which Genius Sports entity developed

5         PANDA Interrogatory No. 5 reads: Identify every agreement to which you are a party that relates to the
development, creation, manufacture, distribution, importation, license, sale, acquisition, transfer, installation, or use
of each Accused Product. Your response to this Interrogatory should include identification of all agreements
relating to the Accused Products, the identity of the parties to the agreement and the date of its execution, and the
identity of the persons most knowledgeable about such agreements.
6
          PANDA Interrogatory No. 6 reads: If you contend that any of the Accused Products do not infringe, either
literally or under the doctrine of equivalents, an asserted claim of the Asserted Patents, describe, in detail, all bases
for such contentions. This description should include an indication of each specific claim limitation and claim term
of the Asserted Patents you contend is not present in each Accused Product, an explanation for why it is not present,
an identification of any document, information, or tangible item that supports, refutes, or otherwise concerns your
contentions with respect to each asserted claim, and an identification and explanation of all legal theories on which
you may rely to support your contentions.
7
          PANDA Interrogatory No. 7 reads: Describe in detail all design-arounds or non-infringing alternatives for
any claim of the Patents-in-Suit. This description should include any actual design-around, all discussions,
evaluations, plans, or attempts to design around, and any decisions not to design around any claim of any of the
Asserted Patents, the cost (including both the resources to implement and the technical disadvantages) associated
with the design around or non-infringing alternative, as well as the dates of any related activities or contemplated
activities. In so doing, please identify each element of each claim of the Asserted Patents that you contend is
missing from each such design-around or non-infringing alternative.
8         PANDA Interrogatory No. 8 reads: Provide a detailed description of the history of each of the Accused
Products, including the release dates for each version, the functionality added, removed, or changed in each such
version and the reason for any functionality added, removed or changes made in each such version. Such
description shall include identification of each entity that has ever designed, developed, sold, licensed, marketed,
and/or distributed each of the Accused Products. The identity of each entity should include the physical locations
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